          Case 3:20-cv-01213-MPS Document 38 Filed 01/11/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT



                                               :
 KEVIN W. CURRYTTO,                            :
      Plaintiff,                               :          CASE NO. 3:20-cv-1213 (MPS)
                                               :
         v.                                    :
                                               :
 JANE DOE #1, et al.,                          :
      Defendants.                              :          JANUARY 11, 2021
                                               :
_____________________________________________________________________________

                                              ORDER

       Plaintiff Kevin W. Currytto has filed a notice indicating that the defendant originally

named as Dr. Cary Preston is actually Dr. Cary Freston.

       The Clerk shall verify Dr. Freston’s current work address with the Department of

Correction Office of Legal Affairs, mail a waiver of service of process request packet including

this Order to Dr. Freston within twenty-one days of this Order, and report to the court on the

status of the waiver request on the thirty-fifth day after mailing. If the defendant fails to return a

signed waiver, the Clerk shall make arrangements for in-person individual capacity service by

the U.S. Marshal Service on Dr. Freston who will be required to pay the costs of such service in

accordance with Federal Rule of Civil Procedure 4(d).

       SO ORDERED this 11th day of January 2021 at Hartford, Connecticut.

                                                      /s/
                                               Michael P. Shea
                                               United States District Judge
